                                                                                                             Case 2:18-cv-01575-FMO-E Document 45 Filed 03/01/18 Page 1 of 9 Page ID #:3843


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                                                                                                         9
                                                                                                              Attorneys for Defendant
                                                                                                        10    COPES-VULCAN, INC.
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                                                                                                        14                              UNITED STATES CENTRAL DISTRICT
                                                                                                        15                 CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
                                                                                                        16
                                                                                                                                                       Case No. 2:18-cv-01575
                                                                                                        17

                                                                                                        18                                             DEFENDANT COPES-VULCAN, INC.’S
                                                                                                           TERRY LEE SIEGFRIED and TERRI               JOINDER IN DEFENDANT ELLIOT
                                                                                                        19 SIEGFRIED,                                  COMPANY’S NOTICE OF REMOVAL
                                                                                                                                                       OF ACTION UNDER 28 U.S.C. §
                                                                                                        20                    Plaintiffs,              1442(A)(1) (GOVERNMENT
                                                                                                                                                       CONTRACTOR IMMUNITY - ACTING
                                                                                                        21            v.                               UNDER DIRECTION OF FEDERAL
                                                                                                                                                       OFFICERS
                                                                                                        22
                                                                                                              3M COMPANY (f/k/a MINNESOTA
                                                                                                        23    MINING & MANUFACTURING                   State Case No.:     BC691900
                                                                                                              COMPANY), etc., et al.                   State Action Filed: January 26, 2018
                                                                                                        24                                             Trial Date:         None
                                                                                                                              Defendants.
                                                                                                        25

                                                                                                        26

                                                                                                        27    TO THE HONORABLE COURT AND TO ALL PARTIES AND THEIR

                                                                                                        28    ATTORNEYS OF RECORD:

                                                                                                                  DEFENDANT COPES-VULCAN, INC. ‘S JOINDER IN DEFENDANT ELLIOT COMPANY’S NOTICE OF
                                                                                                                                                      REMOVAL
                                                                                                              1339039.1
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                                                                                                         1            Defendants COPES-VULCAN, INC. (“Copes-Vulcan”) hereby gives notice that it
                                                                                                         2    joins in Defendant Elliot Company (“Elliot Company”) Notice of Removal of the above-
                                                                                                         3    entitled action from the Superior Court of the State of California for the County of Los
                                                                                                         4    Angeles, to the United States District Court for the Central District of California pursuant
                                                                                                         5    to 28 U.S.C. §§ 1442(a)(1) and 1446. This notice of joinder to Elliot Company’s Notice
                                                                                                         6    of Removal and consent to removal is based on Copes-Vulcan’s separate and independent
                                                                                                         7    right to remove under the federal officer removal statute. In support of its joinder,
                                                                                                         8    Copes-Vulcan respectfully states the following:
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                                                                                                         9                                      Preliminary Matters
                                                                                                        10            1.   On January 26, 2018, Plaintiffs Terry Lee Siegfried and Terri Siegfried filed
                                                                                                        11    a Complaint for Personal Injuries against multiple defendants, including Copes-Vulcan,
                                                                                                        12    in the Superior Court of the State of California for the County of Los Angeles. On
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                                                                                                        13    February 15, 2018, Copes-Vulcan filed its Answer to the Complaint. Attached hereto as
                                                                                                        14    Exhibit A is a true and correct copy of Plaintiffs Terry Lee Siegfried and Terri
                                                                                                        15    Siegfried’s Complaint against Copes-Vulcan. Copes-Vulcan’s Answers to the same are
                                                                                                        16    attached hereto as Exhibit B.      Copes-Vulcan has not been served with any other
                                                                                                        17    pleadings.
                                                                                                        18            2.   Plaintiffs allege in their Complaint that Terry Lee Siegfried was injured as a
                                                                                                        19    result of exposure to asbestos and asbestos-containing products while working for the
                                                                                                        20    Long Beach Naval Shipyard aboard countless naval vessels between 1969 and 1996.
                                                                                                        21            3.   This case is removable based on federal officer jurisdiction under 28 U.S.C.,
                                                                                                        22    § 1442(a)(1). Plaintiffs’ claims against Copes-Vulcan are based on Mr. Siegfried’s
                                                                                                        23    exposure to equipment allegedly supplied to the United States Navy; products that would
                                                                                                        24    have been designed and manufactured in accordance with specifications provided by the
                                                                                                        25    U.S. government, and designed and built under the direction and control of the U.S.
                                                                                                        26    government and its officers.
                                                                                                        27            4.   This Joinder in Elliot Company’s Notice of Removal is timely. The 30-day
                                                                                                        28    removal period prescribed by 28 U.S.C. § 1446(b) begins to run when defendant receives
                                                                                                                                                           2
                                                                                                                  DEFENDANT COPES-VULCAN, INC.’S JOINDER IN DEFENDANT ELLIOT COMPANY’S NOTICE OF
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                                                                                                              1339039.1
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                                                                                                         1    a copy of the initial pleading setting forth the claim for relief from which it may first be
                                                                                                         2    ascertained that the case is removable. 28 U.S.C. § 1446(b). Copes-Vulcan was served
                                                                                                         3    with the Complaint on January 30, 2018. (Exhibit A.) The receipt of the Complaint puts
                                                                                                         4    Copes-Vulcan on notice for the first time in this action that Plaintiffs’ claims involve Mr.
                                                                                                         5    Siegfried exposure to asbestos in military equipment allegedly built for the United States
                                                                                                         6    Government pursuant to specifications provided by the U.S. Navy and under the direction
                                                                                                         7    and control of the U.S. government and its officers. As this Joinder in Notice of Removal
                                                                                                         8    is being filed within 30 days of Copes-Vulcan’s receipt of the Complaint, it is timely
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                                                                                                         9    under 28 U.S.C. § 1446(b).
                                                                                                        10                                        Nature of the Case
                                                                                                        11            5.    This case is based on Plaintiffs’ allegations that Mr. Siegfried contracted
                                                                                                        12    mesothelioma and/or other asbestos-related diseases as a result of his exposure to
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                                                                                                        13    asbestos dust and fibers.
                                                                                                        14            6.    Plaintiffs assert claims against Copes-Vulcan for Negligence, Strict
                                                                                                        15    Liability, False Representation under Restatement of Tort Section 402-B, Intentional
                                                                                                        16    Tort/Intentional Failure to Warn and Loss of Consortium.
                                                                                                        17                        Jurisdiction, Venue and Intradistrict Assignment
                                                                                                        18            7.    Jurisdiction is based on 28 U.S.C. §§ 1331 and 1442(a)(1) as set forth below
                                                                                                        19    under Grounds for Removal.
                                                                                                        20            8.    Venue is proper in the Central District of California because the state court
                                                                                                        21    action, which is subject to this removal petition, was filed in the Superior Court of
                                                                                                        22    California for the County of Los Angeles.
                                                                                                        23            9.    Furthermore, §1442(a) authorizes such a removal without the consent of any
                                                                                                        24    other defendant. See Ely Valley Mines, Inc. v. Hartford Acc. & Indem. Co., 644 F.2d
                                                                                                        25    1310, 1314-1315 (9th Cir. 1981) (“federal officer…can remove without other defendants
                                                                                                        26    joining the petition, and the entire case is removed to the federal court”).
                                                                                                        27    ///
                                                                                                        28    ///
                                                                                                                                                            3
                                                                                                                    DEFENDANT COPES-VULCAN, INC.’S JOINDER IN DEFENDANT ELLIOT COMPANY’S NOTICE OF
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                                                                                                         1                                          Grounds for Removal
                                                                                                         2            10.   This is a civil action over which this Court has original jurisdiction under 28
                                                                                                         3    U.S.C. § 1331, and is removable to this Court by Copes-Vulcan pursuant to 28 U.S.C. §
                                                                                                         4    1442(a)(1) in that Plaintiffs’ alleged right to relief depends on the resolution of a
                                                                                                         5    substantial question of federal law.
                                                                                                         6            11.   Copes-Vulcan was at all relevant times a “person” within the meaning of 28
                                                                                                         7    U.S.C. § 1442(a)(1). Fung v. Abex Corp., 816 F.Supp. 569, 572 (N.D.Cal. 1992) (finding
                                                                                                         8    that a corporate defendant was a “person”).
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                                                                                                         9            12.   Should Plaintiffs file a motion to remand this case, Copes-Vulcan
                                                                                                        10    respectfully requests an opportunity to respond more fully in writing, but offers the
                                                                                                        11    following authorities at this time:
                                                                                                        12            13.   Removal pursuant to 28 U.S.C. § 1442(a)(1) is appropriate where the
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                                                                                                        13    moving party can (1) demonstrate that it acted under the direction of a federal officer, (2)
                                                                                                        14    raise a colorable federal defense to plaintiffs’ claims, and (3) demonstrate a causal nexus
                                                                                                        15    between plaintiffs’ claims and the acts it performed under color of federal office. See
                                                                                                        16    Mesa v. California, 489 U.S. 121, 124-25, 129-31, 134-35 (1989); Fung v. Abex Corp.,
                                                                                                        17    816 F.Supp. 569 (N.D.Cal. 1992); Machnik v. Buffalo Pumps, Inc., 506 F.Supp.2d 99,
                                                                                                        18    102 (D.Conn. 2007). Here, Copes-Vulcan has satisfied all three requirements and is
                                                                                                        19    entitled to the federal officer removal provision.
                                                                                                        20            14.   Plaintiffs claim that Mr. Siegfried was exposed to asbestos from soot
                                                                                                        21    blowers allegedly supplied by Copes-Vulcan on board U.S. Naval vessels (Complaint,
                                                                                                        22    Exhibit A). Based on Plaintiffs’ allegations, Copes-Vulcan has a colorable federal
                                                                                                        23    defense of government contractor immunity in that any products designed, manufactured,
                                                                                                        24    or supplied for use on U.S. Navy vessels for which Copes-Vulcan is allegedly
                                                                                                        25    responsible, would have been designed, manufactured, or supplied under the direction of
                                                                                                        26    an officer of the United States within the meaning of 28 U.S.C., § 1442(a)(1).
                                                                                                        27            15.   All soot blowers manufactured for use on U.S. Navy vessels strictly
                                                                                                        28    complied with very precise Navy Department specifications or Military Specifications
                                                                                                                                                             4
                                                                                                                  DEFENDANT COPES-VULCAN, INC.’S JOINDER IN DEFENDANT ELLIOT COMPANY’S NOTICE OF
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                                                                                                         1    (MilSpecs). Before a manufacturer received authorization to manufacture or supply soot
                                                                                                         2    blowers for/to the U.S. Navy, all of the drawings, plans, technical manuals and other
                                                                                                         3    design documentation first had to be inspected and approved by either U.S. Navy.
                                                                                                         4    During the time in question, the Navy inspections and approvals were the responsibility
                                                                                                         5    of the Bureau of Engineering and its successor organization, the Bureau of Ships
                                                                                                         6    (hereinafter “Navy”). The Navy frequently required changes in design, materials and
                                                                                                         7    documentation before approving the design and authorizing the manufacture of the soot
                                                                                                         8    blower equipment.
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                                                                                                         9            16.   United States Naval Machinery Inspectors were stationed on site at
                                                                                                        10    manufacturing facilities to inspect and test the soot blowers during each phase of the
                                                                                                        11    manufacturing process. At any point, if any material, feature or component of the soot
                                                                                                        12    blowers failed to comply with the applicable specifications, standards or the approved
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                                                                                                        13    design, then it would have been rejected. In short, if any soot blowers supplied to the
                                                                                                        14    Navy was installed aboard a U.S. Navy vessel, then it conformed to the detailed plans
                                                                                                        15    that were approved by the Navy and necessarily complied with all of the precise
                                                                                                        16    specifications and standards, including the specification of the precise material
                                                                                                        17    composition of component parts, and any that may have contained asbestos.
                                                                                                        18            17.   The Navy required the use of many different types of materials in the
                                                                                                        19    equipment built for installation aboard its ships. Each sub-component was designed and
                                                                                                        20    manufactured in accordance with similarly precise specifications, standards and, design
                                                                                                        21    reviews which also specifically required the precise type of material to be used in these
                                                                                                        22    components. Where the specifications or standards permitted the manufacturer to choose
                                                                                                        23    between two or more types of materials (such as plastic materials or insulation and other
                                                                                                        24    heat resistant materials), the manufacturer’s choice was subject to specific Navy
                                                                                                        25    approval. To the extent that any soot blower or component part thereof supplied by a
                                                                                                        26    manufacturer to the U.S. Navy for installation and/or use on a naval vessel contained
                                                                                                        27    asbestos, it would have been specifically required or approved by the Navy through the
                                                                                                        28    specification and design approval process.
                                                                                                                                                           5
                                                                                                                  DEFENDANT COPES-VULCAN, INC.’S JOINDER IN DEFENDANT ELLIOT COMPANY’S NOTICE OF
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                                                                                                         1            18.   If a component on a piece of naval equipment was actually installed onboard
                                                                                                         2    a U.S. Navy vessel, then that component and the material composition of that component
                                                                                                         3    also complied with the precise specifications, standards and design requirements that the
                                                                                                         4    Navy required for such a component. If such a component contained asbestos, then the
                                                                                                         5    Navy and/or Maritime Commission required that it contain asbestos. Therefore, every
                                                                                                         6    facet of the design and manufacture of soot blowers manufactured or supplied for use on
                                                                                                         7    a Navy vessel was controlled by an agency of the U.S. Government.
                                                                                                         8            19.   Copes-Vulcan asserts a colorable federal defense to Plaintiffs’ claims, which
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                                                                                                         9    are affirmatively barred by government contractor immunity as stated by the U.S.
                                                                                                        10    Supreme Court in Boyle v. United Technologies Corp., 487 U.S. 500, 108 S.Ct. 2510
                                                                                                        11    (1988), and by the Ninth Circuit Court of Appeals in McKay v. Rockwell International
                                                                                                        12    Corp., 704 F.2d 444 (9th Cir. 1983).        Pursuant to this federal defense, equipment
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                                                                                                        13    manufacturers, such as Copes-Vulcan, cannot be held liable under state law for any
                                                                                                        14    injuries caused by the equipment built for or under the control of the U.S. Government
                                                                                                        15    when: (1) the United States approved reasonably precise specifications; (2) the equipment
                                                                                                        16    conformed to these specifications; and (3) the equipment supplier warns the military
                                                                                                        17    about any hazards involved in the use of the equipment that are known to the equipment
                                                                                                        18    supplier but not known to the military. See Boyle, supra, 487 U.S. 500 at 512; McKay,
                                                                                                        19    supra, 704 F.2d. 444 at 451; Sundstrom, supra, 816 F.Supp. 587 at 596-97.
                                                                                                        20            20.   Here, Copes-Vulcan has raised a colorable federal defense to this action
                                                                                                        21    under government contractor immunity. To the extent Plaintiffs claim Copes-Vulcan is
                                                                                                        22    responsible for soot blowers on board U.S. Naval vessels, (1) such components or
                                                                                                        23    equipment would have been designed and manufactured pursuant to precise
                                                                                                        24    specifications provided and approved by the U.S. Government through the Navy and/or
                                                                                                        25    Coast Guard, (2) the components and equipment would have conformed to those
                                                                                                        26    specifications, and (3) the U.S. Government, one of the world’s leaders in industrial
                                                                                                        27    hygiene concerns, would have possessed information equal to or superior to that of
                                                                                                        28    Copes-Vulcan concerning issues of industrial hygiene and asbestos medicine, including
                                                                                                                                                           6
                                                                                                                  DEFENDANT COPES-VULCAN, INC.’S JOINDER IN DEFENDANT ELLIOT COMPANY’S NOTICE OF
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                                                                                                         1    the potential hazards involved with use of asbestos-containing components or materials
                                                                                                         2    associated with soot blowers or other Naval/marine equipment. Thus, Copes-Vulcan
                                                                                                         3    would not have had knowledge of any hazards associated with the use of the equipment
                                                                                                         4    which was not already known to the U.S. Government.
                                                                                                         5            21.   A causal nexus exists between Plaintiffs’ claims and the acts allegedly
                                                                                                         6    performed by Copes-Vulcan under the direction of federal officers. Plaintiffs’ claims
                                                                                                         7    against Copes-Vulcan arise out of Mr. Siegfried’s alleged work on and around soot
                                                                                                         8    blowers on board U.S. Navy for which Copes-Vulcan is allegedly responsible. Any soot
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                                                                                                         9    blowers provided for use in those vessels would have been designed and manufactured
                                                                                                        10    pursuant to precise federal regulations and/or military specifications, and built under the
                                                                                                        11    detailed and direct control of federal officers. The conduct attributable to Copes-Vulcan
                                                                                                        12    is inseparable from the government specifications, regulations, and oversight, and a clear
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                                                                                                        13    causal nexus exists between Plaintiffs’ claims and the acts performed under color of
                                                                                                        14    federal office. Copes-Vulcan has more than a colorable federal defense to this state
                                                                                                        15    action under government contractor immunity.        See Boyle, supra, 487 U.S. at 512;
                                                                                                        16    Sundstrom v. McDonnell Douglas Corp., 816 F.Supp. 587 (N.D. Cal. 1993); Fung v.
                                                                                                        17    Abex Corp., 816 F.Supp. 569 (N.D. Cal. 1992); Pack v. AC and S, Inc. 838 F. Supp. 1099
                                                                                                        18    (D. Md. 1993); Crocker v. Borden 852 F.Supp. 1322 (E.D. La. 1994); Arness v. Boeing
                                                                                                        19    North American, Inc., 997 F.Supp. 1268 (C.D. Cal. 1998).
                                                                                                        20            22.   The existence of a single removable claim allows removal of the entire
                                                                                                        21    action. 28 U.S.C. § 1441(c). National Audubon Society v. Dept. of Water, 496 F.Supp.
                                                                                                        22    499, 509 (E.D. Cal. 1980).
                                                                                                        23            23.   Notice of Elliot Company’s removal has been filed with the state court and
                                                                                                        24    provided to all adverse parties pursuant to 28 U.S.C. § 1446(d).
                                                                                                        25            24.   This Notice of Joinder and Joinder is based on this Notice of Removal to the
                                                                                                        26    United States District Court, the Certificate of Service of Notice to Adverse Party of
                                                                                                        27    Removal filed in the state court action, the Notice to Adverse Party of Removal to
                                                                                                        28
                                                                                                                                                           7
                                                                                                                  DEFENDANT COPES-VULCAN, INC.’S JOINDER IN DEFENDANT ELLIOT COMPANY’S NOTICE OF
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                                                                                                         1    Federal Court filed in the state court action, the complete file in the state court case, and
                                                                                                         2    any other matters which the court deems applicable.
                                                                                                         3            WHEREFORE, Copes-Vulcan hereby joins in Elliot Company’s Notice of

                                                                                                         4    Removal and consents thereto to said removal of this action from the Superior Court of

                                                                                                         5    the State of California for the County of Los Angeles to the United States District Court

                                                                                                         6    for the Central District of California. In the event that Elliot Company is dismissed from

                                                                                                         7    this action or withdraws its Notice of Removal, Copes-Vulcan prays that this Court retain

                                                                                                         8    jurisdiction based on Copes-Vulcan’s independent right to federal officer removal
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                                                                                                         9    jurisdiction as set forth herein.

                                                                                                        10    DATED: March 1, 2018                             TUCKER ELLIS LLP
                                                                                                        11

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                                                                                                        13                                               By: ______________
                                                                                                                                                             Patrick Zakhary
                                                                                                        14                                                   Nicole E. Gage
                                                                                                                                                             Attorneys for Defendant
                                                                                                        15                                                   COPES-VULCAN, INC.
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                                                                                                         1                                           CERTIFICATE OF SERVICE
                                                                                                                       I, Debbie Estebanez, certify and declare as follows: I am over the age of 18 years and not a party
                                                                                                         2    to this action. I am employed by the law firm Tucker Ellis LLP, and my business address is One Market
                                                                                                         3    Plaza, Steuart Tower, Suite 700, San Francisco, California 94105, which is located in the city, county
                                                                                                              and state where the service described below took place.                         My email address is
                                                                                                         4    debbie.estebanez@tuckerellis.com.
                                                                                                                       On March 1, 2018, I served on all interested parties in this action a copy of the following
                                                                                                         5    document(s):
                                                                                                           DEFENDANT COPES-VULCAN INC.’S JOINDER IN DEFENDANT ELLIOT
                                                                                                         6 COMPANY’S NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. §
                                                                                                           1442(A)(1) (GOVERNMENT CONTRACTOR IMMUNITY - ACTING UNDER
                                                                                                         7 DIRECTION OF FEDERAL OFFICERS
                                                                                                               [ X ] by electronically serving the documents described above via United States District Court
                                                                                                         8
                                                                                                              Electronic Case Filing website (CM/ECF notification system) on the recipients designated on the
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                                                                                                         9    electronic service list that is located on the PACER website.
                                                                                                              [ X ] FEDERAL: I declare that I am employed in the office of a member of the bar of this Court at
                                                                                                        10    whose direction the service was made. I declare under penalty of perjury under the laws of the United
                                                                                                              States of America that the foregoing is true and correct.
                                                                                                        11
                                                                                                                      Executed on March 1, 2018, at San Francisco, California.
                                                                                                        12
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                                                                                                                                                           Debbie Estebanez
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